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UNITED STATES DIsTRICT CoURT ~/:_’<:§,»` a pp
FOR THE WEsTERN DISTRICT TENNESSEE 1 _ 3 ,%, "'
AT JACKSoN .- "
HARVEL LEE wALKER and
NANCY JEAN WALKER
Plaintiffs

 

No. 1-05-1062-T AN
v.

ROGER L. DEPOYSTER, ROBERT T.
MARVIN, WILLIAM J. ANDERSON,

and TENNESSEE VALLEY AUTHORlTY
Defendants

 

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by wn`tten notice, the following
dates are established as the final dates for:

INITIAL DISCLOSURES (Rule 26(3)(1)): Tuesday, June 21, 2005

JOINING PARTIES:

for Plaintiff: Monday, August 8, 2005
for Defendant: Friday, September 9, 2005

AMENI)ING PLEADINGS:

for Plajntiff: Monday, August 8, 2005
for Defendant: Friday, September 9, 2005

COMPLETING ALL DISCOVERY: Monday, February 6, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and REQUEST FOR ADMISSIONS: Tuesday, January 3, 2006

(b) EXPERT DISCLOSURE (Rule 26(a)(2.)):
(i) Plaintiff’s Experts: Monday, December 5, 2005

(ii) Defendant’S Experts: Friday, January 6, 2006

(ii) Supplementation under RuIe 26(e): Friday, January 20, 2006

This document entered on the docket sheet ln c mp|fance
with ama 53 and:or_ve (a) FRCP on LQ l

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(c) DEPOSITIONS OF EXPERTS: Monday, February 6, 2006
FILING DISPOSITIVE MOTIONS: Friday, January 20, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: Friday, March 17, 2006
(b) for Defendant Friday, March 31, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits
to file objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 days and is SE'I` for JURY
TRIAL on Monday, May 1, 2006 at 9:30 A.M. A joint pretrial order is due on Friday,
April 21, 2006. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production, and Requests for Adrnissions must
be submitted to the opposing party in sufficient time for the opposing party to respond to
the deadline for completion of discovery. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery
deadline or within 30 days of the default or service of the response, answer, or objection
which is the subject of the motion if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
any objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and
(a)(l)(B), all motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be
accompanied by a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

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The parties are encouraged to engage in court-annexed attorney mediation
or private mediation on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be

modified or extended

IT IS SO ORDERED.

Tendered:

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUGE

Date: §§}W QZ, Zg;;f

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CV-01062 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

